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                                          Medical Questionnaire
                                                . And
                                          Emergency Notification


Na)ne,¥               ~                            DOB /"'-"'l@lSN#         o7aS'L SEJ/_'?
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Address ~61.--fY.
                         ~(M-1-h.<)Ph#Relationship
                  c;:r-;f/Y
                                          ses-n-?. ~w9
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                                                                                             No




  -r---~'--:::~--'-------Hereby authorize the               attending physician, or the physician designated by
---,,,_~r    d :other facility employees, to examine and treat me. I also authorize such treatment and procedures
as eem;ed n~cessary by a physician, including but not limited to, the taldng ofX-Rays, medications, blood
samples·, ~e samples, and other therapies as deemed necessary. I understand that I will be given the
opp~:)ltuiiitY io refuse any or all therapies and/or treatments prior to their being given. I am also aware that I may
rescmd this. general consent at any time. I am aware that the practice of medicme is not an exact science and I
ackllowledg~ that n~ guarantee or assurance has been made or implied to me as to th~ results that may be
obtained by examination and treatment. I also understand that it is my responsibility to provide the most
~·ccura~~ and:up to ~fate medical information.                                    .

. I ~e~ !hat~ have~·under•d }he abo~ authorization.         ~(/I<)                   f_s
  Inm!lte .s~gnature _-2!__ ~                                      J _r.T-:_,_~-
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  Witness ·     '    ·  ·                         Date
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       :   ·..
 Add~tional Information not covered in this form?




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                                                                                                  SCHWARK 000052




                                         Park County Jail [px02]                                          G 0004
                                                                                                                Exhibit B
